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                                                                          6                               IN THE UNITED STATES DISTRICT COURT
                                                                          7
                                                                                                    FOR THE NORTHERN DISTRICT OF CALIFORNIA
                                                                          8
                                                                          9   E. K. WADE,
                                                                         10                  Plaintiff,                                       No. C 16-mc-80221 WHA
                                                                         11
United States District Court




                                                                                v.
                               For the Northern District of California




                                                                         12   THOMAS PEREZ and JEH CHARLES                                    ORDER DENYING LEAVE
                                                                         13   JOHNSON,                                                        TO FILE ACTION AGAINST
                                                                                                                                              DEPARTMENT OF LABOR
                                                                         14                  Defendants.                                      AND DEPARTMENT OF
                                                                                                                                  /           HOMELAND SECURITY
                                                                         15
                                                                         16          Plaintiff E.K. Wade has filed more than a dozen actions against the United States

                                                                         17   Department of Labor and its employees. Judge Charles Breyer has already declared Wade a

                                                                         18   vexatious litigant, and the undersigned judge ordered Wade to seek leave to file further

                                                                         19   complaints against the Department of Labor, inter alia. He now seeks to file a new lawsuit.

                                                                         20   The complaint he proposes to file is the very same complaint he has already filed in the Eastern

                                                                         21   District of California (indeed, the proposed complaint is marked as filed there), and it alleges the

                                                                         22   same implausible and frivolous theory of a conspiracy against him at the Office of Federal

                                                                         23   Contract Compliance Programs, where he was formerly employed, which has been the subject of

                                                                         24   his ongoing litigation campaign.

                                                                         25          Pursuant to the pre-filing review order applicable to Wade, this order DENIES Wade’s

                                                                         26   request to file a duplicate and frivolous action.

                                                                         27          IT IS SO ORDERED.

                                                                         28
                                                                              Dated: May 16, 2017.
                                                                                                                                      WILLIAM ALSUP
                                                                                                                                      UNITED STATES DISTRICT JUDGE
